                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
  DAVID DUVALL,                     )
                                    )
  Plaintiff,                        )
                                    )
  v.                                )
                                    )
                                            C.A. No. 3:19-cv-00624-DSC
  NOVANT HEALTH, INC.,              )
                                    )
  Defendant.                        )
                                    )
                                    )


                             PROPOSED JURY INSTRUCTIONS

       Pursuant to Rule 51 of the Federal Rules of Civil Procedure, Plaintiff David Duvall

(“Duvall” or “Plaintiff”) and Defendant Novant Health, Inc. (“Novant Health” or “Defendant”),

(collectively, the “Parties”) submit the attached written requests for jury instructions and

respectfully ask the Court to instruct the jury on the law as set forth in these requests if competent

evidence supporting these instructions is introduced at trial.

       These requests are based on the currently anticipated trial issues. The Parties respectfully

reserve the right to submit additional instructions to the Court as dictated by the trial evidence and

rulings of the Court.


Proposed Jury Instructions
   7.   Nature of the Claim – Title VII
   8.   Nature of the Claim – North Carolina Equal Employment Practices Act
   9.   Intent
   10. Unfair Treatment is not Discrimination
   11. Same Actor
   13. Sex and Race Discrimination – First Issue – Motivating Factor
   17. Punitive Damages
   19. Verdict Form




               Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 1 of 14
Dated this the 14th day of April, 2021.

                                     Respectfully submitted,

                                     /s/ S. Luke Largess
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                                     /s/ Benjamin R. Holland
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                                     /s/Elizabeth R. Gift
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                                     /s/ S. Abigail Littrell
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       Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 2 of 14
                          PROPOSED JURY INSTRUCTION NO. 7

                               (Nature of the Claim – Title VII)1

       Title VII of the Civil Rights Act makes it unlawful for an employer to intentionally

discharge any person on the basis of that person’s race or sex.

       The plaintiff in this case, Duvall, claims that the defendant, Novant Health, intentionally

discriminated against him by terminating him on the basis of his race and sex. Novant Health

denies this charge. It is your responsibility to decide whether Duvall has proven that his race

and/or gender was a motivating factor in his termination and, if you so find, then decide whether

his claims against Novant Health has proven by a preponderance of the evidence that it would have

reached the same decision without that motivating factor.                                            Commented [A1]: This is misleading given the mixcd motive
                                                                                                     issue
                                                                                                     Commented [A2R1]: Defendant disagrees with this edit. This
                                                                                                     instruction is directly from O’Malley.




1
 42 U.S.C. §2000e-2(a)(1); 42 U.S.C. §2000e-3; O’Malley, Grenig and Lee, Federal
Jury Practice and Instructions, Jury Instructions § 171:1(6th Ed. 2011).




               Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 3 of 14
                         PROPOSED JURY INSTRUCTION NO. 8

         (Nature of the Claim – North Carolina Equal Employment Practices Act) 2

       The North Carolina Equal Employment Practices Act (“NCEEPA”) establishes a public

policy that makes it unlawful for an employer to discriminate againstterminate the employment of

any person on account of that person’s race or sex.

       The plaintiff in this case, Duvall, claims that the defendant, Novant Health, intentionally

discriminated against him by terminating him, at least in part, on account of his race and sex.

Novant Health denies this charge. It is your responsibility to decide whether Duvall has proven

his claims against Novant Health by a preponderance of the evidence and, if so, whether Novant

Health has met its burden of proof.                                                                  Commented [A3]: This is a little misleading given the mixed
                                                                                                     motive issue
                                                                                                     Commented [A4R3]: Defendant disagrees with this as well.
                                                                                                     The instruction on same decision includes this and including it here
                                                                                                     is confusing.




2
    N.C.G.S. § 143-422.2; O’Malley, Grenig and Lee, Federal Jury Practice and
Instructions, Jury Instructions § 171:1(6th Ed. 2011).

                                                4




               Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 4 of 14
                          PROPOSED JURY INSTRUCTION NO. 9

                                             (Intent)3                                                Commented [A5]: Luke, Defendant disagrees with these edits.
                                                                                                      This instruction is directly from O’Malley. The other language used
                                                                                                      is taken directly from Hill.
       Duvall must prove by a preponderance of the evidence that Novant Health intentionally

discriminated against him in his termination. To demonstrate such an intent to discriminate on the

part of Novant Health, Duvall must prove that his race or sex was a motivating factor actually

motivated in Novant Health’s decision.4 Duvall does not have to prove to you that it was the only

factor, but only that it played some role in his termination. Duvall , however, is not required to

produce direct evidence that of intentional discrimination was a motivating factor in the decision.

Intentional discrimination may be inferred from circumstantial evidence, which can be as strong

as direct evidencethe existence of other facts.




3
  O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, Jury Instructions § 171:26
(6th Ed. 2011).
4
  Hill v. Lockheed Martin Logistics Mgmt., Inc., 354 F.3d 277, 286 (4th Cir. 2004)



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               Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 5 of 14
                           PROPOSED JURY INSTRUCTION NO. 10

                            (Unfair Treatment Is Not Discrimination)                                  Commented [A6]: Luke, Defendant disagrees with these edits.
                                                                                                      Again, the instruction on same decision covers this.

         The question before you is not whether Duvall was treated fairly. The law does not require

that employment decisions be “fair.” The issue is whether illegal discrimination occurredwas a

motivating factor in the termination. If you do not approve of Novant Health’s decision to

terminate Duvall, that is not grounds for finding in favor of Duvall in this case. If you find that

the decision to terminate Duvall was not motivated in some part by his sex or race, you must return

a verdict for Novant Health even if you think that Novant Health treated Duvall unfairly or that a

different result would have been better.5 If you find, however, that his sex and/or race was a

motivating factor in his termination, then you must follow my instructions on the shifting burden

of proof.




5
    Lovelace v. Sherwin-Williams Co., 681 F.2d 230 (4th Cir. 1982).


                                                 6




                 Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 6 of 14
                          PROPOSED JURY INSTRUCTION NO. 11

(Same Actor)6                                                                                          Commented [A7]: I do not think you get this instruction after 5
                                                                                                       years of employment.
                                                                                                       Commented [A8R7]: Luke, there is no bright line rule on this.
                                                                                                       It is an issue for the jury to decide.
       If you find the same person who hired Duvall is also one of the people who allegedly

discriminated against Duvall, you may consider it inherently inconsistent that an individual who

is willing to hire a person who is a member of a protected class will discriminate against that same

individual because the person is a member of that class. Plaintiff’s evidence, however, may explain

that inconsistency to your satisfaction.




6
 O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, Jury Instructions §
171:81 (6th Ed. 2011).

                                                 7




                Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 7 of 14
                          PROPOSED JURY INSTRUCTION NO. 13

                 (Sex and Race Discrimination – First Issue - Motivating Factor)7

        Regarding Duvall’s sex and/or race discrimination claims, the first issue you must decide

is as follows:

       Do you find from a preponderance of the evidence that Novant Health’s decision to

terminate Duvall was motivated by Duvall’s race (Caucasian) and/or sex (male)?

       On this issue, the burden of proof is on Duvall. This means that Duvall must prove, by the

greater weight of the evidence, that Novant Health intentionally discriminated against him, at least

in part, on the basis of his race (Caucasian) or sex (male). Duvall need not prove it was the sole     Commented [A9]: Luke, Defendant disagrees with these edits.
                                                                                                       Plaintiff has to prove intentional discrimination even in a mixed
                                                                                                       motive case. We can’t agree to this addition throughout.
factor in his termination .                                                                            Commented [A10]: Luke, This is already in 12. and we do not
                                                                                                       feel it is appropriate here.
       If you find that Duvall failed to prove by a preponderance of the evidence that his race

(Caucasian) or sex (male) was a motivating factor in Novant Health’s decision to terminate him,

then you must answer the first issue “no,” and find in favor of Novant Health. If you answer this

issue “no,” then you must find for Novant Health and do not need to proceed to the next issue in

this sex and race discrimination claim.

       If, on the other hand, you find that Novant Health’s decision to terminate Plaintiff was

motivated in some part by his race (Caucasian) or sex (male), then you must answer the first issue

“yes,” and proceed to the next issue in this sex and race discrimination claim.




7
 O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, Jury Instructions §
171:20 (6th Ed. 2011) (Modified); 640.28 Employment Discrimination--Mixed Motive
Case., NC Pattern Jury Inst. - Civ. 640.28.

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                 Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 8 of 14
                          PROPOSED JURY INSTRUCTION NO. 17

                                       (Punitive Damages) 89                                           Commented [A11]: Luke, Defendant disagrees with these edits.
                                                                                                       This is directly from O’Malley. We disagree with the redline and
                                                                                                       can submit separate instructions.
       Duvall claims the acts of Novant Health were done with malice or reckless indifference to

Duvall’s federally protected rights so as to entitle him to an award of punitive damages in addition

to compensatory damages.

In some cases punitive damages may be awarded for the purpose of punishing a defendant for its         Formatted: Line spacing: 1.5 lines

wrongful conduct and to deter others from engaging in similar wrongful conduct. If you find
that the defendant acted with malice or reckless indifference to the plaintiff’s rights, then, in
addition to any other damages to which you find the plaintiff entitled, you may, but are not
required to, award the plaintiff an additional amount as punitive damages for the purposes of
punishing the defendant for engaging in such misconduct and deterring the defendant and others
from engaging in such misconduct in the future. You should presume that a plaintiff has been
made whole for his injuries by the damages awarded under Issue No. 3.10                                Formatted: Font: 12 pt


       However, an employer may not be held liable for punitive damages because of

discriminatory acts on the part of its managerial employees where those acts by such employees

are contrary to the employer's own good faith efforts to comply with the law by implementing

policies and programs designed to prevent such unlawful discrimination in the workplace.




8
  O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, Jury Instructions, § 171.94
(6th Ed. 2011).
9
  To be awarded punitive damages under North Carolina law, a plaintiff must prove, by clear and
convincing evidence, that malice or willful or wanton conduct was present and was related to the
injury for which compensatory damages were awarded. N.C. Gen. Stat. § 1D-15(a)-(b). A
separate instruction is not required, however, because a plaintiff may not recover duplicative
damages for a single injury. See Gordon v. Pete’s Auto Serv. of Denbigh, Inc., 637 F.3d 454, 460
(4th Cir. 2011) (citations omitted) (a plaintiff “may not receive a double recovery under different
legal theories for the same injury”); E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 297 (2002)
(quotation and citation omitted) (“it goes without saying that the courts can and should preclude
double recovery by an individual.”).


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               Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 9 of 14
       An award of punitive damages would be appropriate in this case only if you find for Duvall

and then further find from a preponderance of the evidence t:

       First: That a higher management official of Novant Health personally acted with malice or

reckless indifference to Duvall’s federally protected rights, and                                    Commented [A12]: If the jury finds for Duvall, it will be
                                                                                                     because of the D&I plan. I don’t think this instruction works here-
                                                                                                     you cannot negate the impact of one policy by pointing to boilerplate
       Second: That Novant Health itself had not acted in a good faith attempt to comply with the    non-dscrimination polies


law by adopting policies and procedures designed to prohibit such discrimination in the workplace.

       If you find that punitive damages should be assessed against Novant Health, you may

consider the financial resources of defendant in fixing the amount of such damages.

       Punitive damages must bear a reasonable relationship to Duvall’s actual injury. However,

there is no simple way to link punitive to compensatory damages. In determining a reasonable

relationship to the actual injury, you must consider all relevant factors. These include:

       1. The impact or severity of defendant's conduct.

       2. The amount of time defendant conducted itself in this manner.

       3. The amount of compensatory damages.

       4. The potential profits defendant may have made from defendant's conduct.

       5. The attitudes and actions of defendant's top management after the misconduct was

       discovered.

       6. The effect of the damages award on defendant's financial condition.




                                                10




              Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 10 of 14
                    PROPOSED JURY INSTRUCTION NO. 19

                                   (Verdict Form)


                COUNT 1: Unlawful Sex and Race Discrimination

Do you find from a preponderance of the evidence:

1. That Duvall has proven that his sex (male) and race (Caucasian) was a motivating
factor in Novant Health’s decision to terminate him?
       Answer Yes____ or No____

*** Note: If you answered “No” to Question 1 you need not answer the remaining
questions. Please have your foreperson sign and date this form because you have
completed your deliberations on this claim. ***

2. That Novant Health has shown that it would have made the same decision
concerning Duvall regardless of his sex (male) and race (Caucasian)?
      Answer Yes____ or No____

*** Note: If you answered “Yes” to Question 2 you need not answer the remaining
questions. Please have your foreperson sign and date this form because you have
completed your deliberations on this claim. ***




                                         11




            Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 11 of 14
                                      DAMAGES

If you answered “Yes” to Question No. 1 and “No” to Question No. 2 for Count 1,
please answer the following questions:

Damages Question No. 1:



       What sum of money, if paid now in cash, would fairly and reasonably compensate
Plaintiff David Duvall for the lost wage damages, if any, you have found Novant Health
proximately caused Plaintiff David Duvall?

      Answer in dollars and cents, if any

      $___________

Damages Question No. 2:

       Do you find that Plaintiff David Duvall failed to exercise reasonable diligence in
seeking, accepting, and maintaining substantially equivalent employment after the date of
his termination by Novant Health?

      Answer “Yes” or “No”

       __________

***If you answered “Yes” to Question No. 3, then answer Question No. 4. If you answered
“No” to Question No. 3, skip to Question No. 5. ***




                                            12




            Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 12 of 14
Damages Question No. 4:

       How much would Plaintiff David Duvall have earned had he exercised reasonable
diligence under the circumstances to minimize his damages?

      Answer in dollars and cents, if any

       $__________


Damages Question No. 5:                                                                    Commented [A13]: This is completely speculative – how much
                                                                                           he would have earned
                                                                                           Commented [A14R13]: Luke, We disagree with this edit. The
      Do you find that Plaintiff David Duvall should be awarded punitive damages?          jury has to decide how to reduce Plaintiff’s damages if they decide
                                                                                           he failed to mitigate.
      Answer “Yes” or “No.”

      ____________

*** If you answered “Yes” to Question No. 5, then answer Question No. 6. If you answered
“No” to Question No. 5, do not answer Question No. 6. Please have your foreperson sign
and date this form because you have completed your deliberations on this claim. ***

Damages Question No. 6:

       What sum of money, if any, should be assessed against Defendant Novant Health
as punitive damages?

      Answer in dollars and cents:

      $_________




                                        _______________________________________
                                        Foreperson
Dated: ____________________




                                            13




            Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 13 of 14
                                 CERTIFICATE OF SERVICE

       I, S. Abigail Littrell, hereby certify that I have this day electronically filed the foregoing

PROPOSED JURY INSTRUCTIONS with the Clerk of Court using the CM/ECF system, which

will send notification of the filing to the following person:

       S. Luke Largess
       Attorney for Plaintiff
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       Charlotte, NC 28203
       Telephone: 704.338.1220
       Facsimile: 704.338.1312
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       Dated this the 14th day of April, 2021.

                                       /s/S. Abigail Littrell
                                       N.C. Bar No. 44331
                                       Attorney for Defendant
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                                                 14




              Case 3:19-cv-00624-DSC Document 73-2 Filed 04/14/21 Page 14 of 14
